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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                              BID PROTEST

FMS INVESTMENT CORP., et al.,                 )
                                              )
               Plaintiffs,                    )
                                              )
       v.                                     )
                                              )       No. 18-204C (consolidated)
THE UNITED STATES,                            )
                                              )       Judge Thomas C. Wheeler
               Defendant,                     )
                                              )
       and                                    )
                                              )
PERFORMANT RECOVERY, INC., and                )
WINDHAM PROFESSIONALS, INC.                   )
                                              )
               Intervenor-Defendants.         )

                                         NOTICE

       The Department of Education (ED) has completed its review of the solicitation

under protest. See ECF Nos. 149, 154. The solicitation will be cancelled due to a

substantial change in the requirements to perform collection and administrative resolution

activities on defaulted Federal student loan debts. In the future, ED plans to significantly

enhance its engagement at the 90-day delinquency mark in an effort to help borrowers

more effectively manage their Federal student loan debt. ED expects these enhanced

outreach efforts to reduce the volume of borrowers that default, improve customer service

to delinquent borrowers, and lower overall delinquency levels. The current private

collection agencies (PCA) under contract with ED have sufficient capacity to absorb the

number of accounts expected to need debt collection services while the process for

transitioning to the new approach is developed and implemented. Therefore, additional

PCA contract work is not currently needed.
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       ED will cancel the solicitation and terminate for convenience the awards to

Performant Recovery, Inc. and Windham Professionals, Inc. on or after May 7, 2018.

Following those actions, we will move to dismiss this consolidated action as moot.

                                            Respectfully submitted,

                                            CHAD A. READLER
                                            Acting Assistant Attorney General

                                            ROBERT E. KIRSCHMAN, JR.
                                            Director

                                            s/ Patricia M. McCarthy
                                            PATRICIA M. McCARTHY
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 May 3, 2018                                Attorneys for Defendant




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